IN THE UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF NORTH CAROLINA <

 

UNITED STATES OF AMERICA : 1:17CR209-4
v. l
DANYEL~ROY KIERAN :
LE MONS~KING : PLEA AGREEMENT

NOW COME the United States of America, by and through Matthew
G.T. Martin, United States Attorney for the Middle District of North Carolina,
and the defendant, DANYEL-ROY KIERAN LEMONS-KING, in his own
person and through his attorney, J ames B. Norman, and state as follows:

1. The defendant, DANYEL-ROY KIERAN LEMONS-KING, is
presently under Superseding Indictment in case number 1:17CR209-4, Which
in Count One charges him With a violation of Title 18, United States Code,
Section 1028(a)(1), (b)(l)(A), and (D, conspiracy to produce false identification
documents; Which in Counts Eight and Nine charges him With violations of
Title 18, United States Code, Section 1028A(a)(1), aggravated identity theft;
and Which in Count ’l\rvelve charges him With a violation of Title 18, United
States Code, Section 1029(a)(4), possession of device-making equipment

affecting interstate and foreign commerce

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2. The defendant, DANYEL-ROY KIERAN LEMONS-KING, Will enter
a Voluntary plea of guilty to Counts Eight and Nine of the Superseding
Indictment herein. The nature of these charges and the elements of these
charges, Which must be proved by the United States beyond a reasonable doubt
before the defendant can be found guilty thereof, have been explained to him
by his attorney
av The defendant, DANYEL~ROY KlERAN LEMONS-KING,
understands that the statutory penalty for Counts Eight and Nine of the
Superseding indictment herein provides that he shall be sentenced to
imprisonment for two years as to each count; that he cannot be placed on
probation or receive a suspended sentence; and that he shall not be eligible for
parole. The defendant, DANYEL-ROY KIERAN LEMONS-KING, further
understands that the maximum fine for Counts Eight and Nine of the
Superseding Indictment herein is $250,000, as to each count. If any person
derived pecuniary gain from the offense, or if the offense resulted in pecuniary
loss to a person other than the defendant, DANYEL-ROY KIERAN LEMONS-
KING, the defendant may, in the alternative, be fined not more than the
greater of twice the gross gain or twice the gross loss unless the Court
determines that imposition of a fine in this manner Would unduly complicate

or prolong the sentencing process The fine provisions are subject to the

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provisions of Title 18, United States Code, Section 3571, entitled "Sentence of

Fine."

b. The defendant, DANYEL-ROY KIERAN LEMONS-KING,
also understands that the Court may include as a part of the sentence a
requirement that the defendant be placed on a term of supervised release of n
not more than one year as to each count, after imprisonment, pursuant to Title
18, United S.tates Code, Section 3583.

c. The defendant, DANYEL-ROY KIERAN LEMONS~KING,
understands that the Court shall order, in addition to any other penalty
authorized by laW, that the defendant make restitution to any Victim of the
offenses to Which he is pleading guilty, pursuant to Title 18, United States
Code, Section 3663A(a)(1). The defendant, DANYEL-ROY KIERAN
LEMONS~KING, further agrees to pay restitution, as determined by the Court,
to any victims harmed by defendant’s relevant conduct, as defined by U.S.S.G.
§ 1B1.3, pursuant to Title 18, United States Code, Section 3663A(a)(3).

d. The defendant, DANYEL-ROY KIERAN LEMONS-KING,
further understands that the term of imprisonment imposed on him for a
Violation of Title 18, United States Code, Section 1028A(a)(1) may, in the
discretion of the Court, run concurrently, in Whole or in part, only With another

term of imprisonment that is imposed on the defendant by the Court at the

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same time on that person for an additional Violation of this section, pursuant

to Title 18, United States Code, Section 1028A(b)(4).

e. The defendant, DANYEL-ROY KIERAN LEMONS-KING,
understands that if he is not a citizen of the United States that entering a plea
of guilty may have adverse consequences with respect to his immigration
status The defendant, DANYEL-ROY KIERAN LEMONS~KING,
nevertheless wishes to enter a voluntary plea of guilty regardless of any
immigration consequences his guilty plea might entail, even if such
consequence might include automatic removal and possibly permanent
exclusion from the United States

3. By voluntarily pleading guilty to Counts Eight and Nine of the
Superseding Indictment herein, the defendant, DANYEL-ROY KIERAN
LEMONS-KING, knowingly waives and gives up his constitutional rights to
plead not guilty, to compel the United States to prove his guilt beyond a
reasonable do'ubt, not to be compelled to incriminate himself, to confront and
cross-examine the witnesses against him, to have a jury or judge determine his
guilt on the evidence presented, and other constitutional rights which attend
a defendant on trial in a criminal case.

4. The defendant, DANYEL~ROY KIERAN LEMONS-KING, is going to
plead guilty to Counts Eight and Nine of the Superseding Indictment herein

because he is, in fact, guilty and not because of any threats or promises
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5. The extent of the plea bargaining in this case is as follows:

a. Upon the acceptance by the Court of a guilty plea by the
defendant, DANYEL~ROY KIERAN LEMONS-KING, to Counts Eight and
Nine of the Superseding Indictmeth herein, and at the conclusion of the
sentencing hearing thereon, the United States of America will not oppose a
motion to dismiss the remaining counts of the Superseding Indictment as to
the defendant, DANYEL-ROY IUERAN LEMONS-KING. This portion of the
Plea Agreement is made pursuant to Rule 11(c)(1)(A) of the Federal Rules of
Criminal Procedure.

6. The defendant, DANYEL-ROY KIERAN LEMONS-KING, agrees that
pursuant to Title 18, United States Code, Section 3613, all monetary penalties,
including restitution imposed by the Court, shall be due immediately upon
judgment and subject to immediate enforcement by the United States The
defendant agrees that if the Court imposes a schedule of payments, the
schedule of payments shall be merely a schedule of minimum payments and
shall not be a limitation on the methods available to the United States to

enforce the judgment.

7. lt is further understood that the United States and the defendant,
DANYEL-ROY KIERAN LEMONS-KING, reserve the right to bring to the

Court's attention any facts deemed relevant for purposes of sentencing

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8. The defendant, DANYEL-ROY KIERAN LEMONS-KING, further
understands and agrees that pursuant to Title 18, United States Code, Section
3013, for any offense committed on or after October 11, 1996, the defendant
shall pay an assessment to the Court of $100 for each offense to which he is
pleading guilty. This payment shall be made at the time of sentencing by cash
or money order made payable to the Clerk of the United States District Court,
If the defendant is indigent and cannot make the special assessment payment
at the time of sentencing, then the defendant agrees to participate in the
Inmate Financial Responsibility Program for purposes of paying such special

assessment

9. No agreements representations, or understandings have been made
between the parties in this case other than those which are explicitly set forth
in this Plea Agreement, and none will be entered into unless executed in

Writing and signed by all the parties

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This the day of May, 2018.

 

MATTHE G.T. MARTIN JAMES B. NORMAN
United t tes Attor Attorney for Defendant

    

 

ANAND P. RAMASWAMYV - Y inE`RAN
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